 

I.EBUW]T{. & MZHEN. LLC
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United States District Court
for the District of Mary¥and
(Nc)rthern Division)

MlCHAEL G. STUART, lndividually, and as
Administrator and Persona| Representative
of the Estate of ALEXANDER REY STUART
6 Carriage Lane

Georgetown, Deiaware 19947

and

RODNICA D. CANNON, as Parent, Next
Friend and Legaf Guardian of

ALEX|S V|CTOREA STUART, Surviving i\/iinor
Chi!d of Alexancier Rey Stuart

25043 E|dert Street

Mobii Gardens

Seaford, De|aware 19973

AMENDED CO|VIPLAENT

Civi| No.: L-1 1»2472

and

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§
V|CTOR|A L. BOLDEN )
409 West Yth Street )
Laure|, Defaware 19956 )
) JURY TR|AL DEMANDED
F’|aintiffs )
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V.

PEN!NSULA REGIONAL NEED|CAL CENTER
100 East Carro|! Street
Sa!isbury, N|ary|and 21801

and

EMERGENCY SERV|CE ASSOC!A'{'ES, P.A.
100 East Carro!| Street
Sa|isbury, l\/iaryiand 21801

and

SEAN D. DAKSHAW, D.O.
105 Hawkes Point
NeW Bern, North Caroiina 28560

 

 

 

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Defendants )

 

AWIENDED COMPLNNT

P|aintiffs, i\/iichaei G. Stuart, lndividua||y, and as Administrator and Persona|
Representative of the Estate of Atexander Rey Stuart, Rodnica D. Cannon, as Parent,
Next Friend and Lega| Guardian of A!e)<is Victoria Stuart, Surviving Minor Chiid of
Aiexander Rey Stuart, and \/ictoria L. Boiden, by their attorneys Jack D. i_ebowitz,
Vadim A. Mzhen, and Lebowitz & Mzhen, LLC, sue Detendants, Peninsuia Regiona|
i\/iedical Center, Ernergency Service Associates, P.A. and Sean D. Dakshaw, D.O., and
state as follows:

Factua| Atiegations

1. Plaintiffs, Michaei G. Stuart, individuatty, and as Adrninistrator and
Personai Representative of the Estate of Alexander Rey Stuart, Rodnica D. Cannon, as
Parent, Next Friend and Lega| Guardian of A|e)<is Victoria Stuart, Surviving lV|inor Chiid
of Aiexander Rey Stuart, and Victoria L. Bolden (co[|ectively referred to as the
"Piaintiffs") are citizens and residents of the State of Delaware.

2. Defendants, Peninsuia Regional Niedicai Center {aiso referred to herein
as “PRMC") and Ernergency Services Associates, P.A. are corporations Whose principal
places of business are in the State of Mary|and. The Defendant, Sean D. Dakshaw,
D.O. is a citizen and resident of the State of North Caroiina.

3. The various negiigent acts set forth in the instant Comp|aint occurred in

the State of Mary|and, V\licomico County.

 

 

 

 

 

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4. The amount of this controversy exceeds, exciusive of interest and costs,
Seventy Five Thousand ($75,000.00) Dollars.

5. .iurisdiction exists under Title 28 USCA Section 1332.

6. A Statement of Clairn Was filed With the Hea|th Care Alternative Dispute
Rasoiution Office as required under Maryland iaw, and arbitration of the ciaim Was
Waived by the Plaintitfs pursuant to Section 3*2A~06i3(b) of the Courts and Judicial
F’roceeding Article. The Waiver of Arbitration, Certificate of Qualitied Expert With expert
report, and Statement of Clairn Which Were filed before the Health Care Aiternative
Dispute Resolution Office are attached as Exhibit A, Exhibit B, and Exhibit C,
respectively The Order of Transfer is attached as Exhibit D.

7. The Late Atexander Rey Stuart Was born on December 28, 1984, and he
died on April 3, 2010 at the age of 25 years

8. The Plaintiff, Niichaei G. Stua:t, is the surviving Father of Late Alexander
Rey Stuart. l\fliohael G. Stnart is a primary beneficiary in this action pursuant to Section
3-904(a) of the Courts and Judicial Proceedings Article.

9. On July 28, 2010, l\/iichaef G. Stuart Was appointed the Administrator of
the Estate of Aiexander Rey Stuart by the Register of \/Vills for Sussex County in the
State of De|aware. The appointment has since been extended

10. Alexis Victoria Stuart, age 2, Was born on July 2, 2009, and she is the
surviving lVlinor Child of the Late Alexander Rey Stuart. A|exis Victoria Stuart, by and
through the Plaintifi, Rocinica D. Cannon, her Parent, Next Friend and Legal Guardian,
is a primary beneficiary in this action pursuant to Section 3-904(a) of the Courts and

Judiciai Proceedings Articie.

 

 

 

 

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11_ The P|aintitt, Victoria l_. Bolden, is the surviving l\./lother of Late Alexander
Rey Stuart. Victoria L. Bolden is a primary beneficiary in this action pursuant to Sectiori
3»904(a) of the Courts and Judicial Proceeclings Article.

12. At all times pertinent to this case, Detendants, Peninsu|a Regiona| iVledical
Center, Emergency Services Associates, P.A. and Sean D. Dakshaw, D.O. (referred to
co!|ectively as the "Detendants"), held themselves out to the P|aintiffs and to the general
public as experienced competent and able health care providers possessing or
providing that degree of skill and knowledge ordinarily possessed by those Who practice
emergency medicine The Defendants and their employees and/or agents owed a duty
to the Aiexander Rey Stuart to render that degree ot care and treatment ordinarily
rendered by those Who practice emergency medicine

13. At all times pertinent to this case, Defendant, Emergency Services
Associates, P.A., Was a professional association and offered, through it employees
including Sean D. Dakshaw, D.O., medical services to the general public. As such, it
held itself out as practicing ordinary standards of medical care, including appropriate
emergency medicine care_

14. At ali times pertinent to this case, Defendant Sean D. Dakshaw, D.O. Was
an agent and/or employee of the Defendants Emergency Services Associates, P.A. and
the Peninsuia Regional l\/ledical Center.

15. At ali times pertinent to this case1 Ke||ie Phillips, P.A. and other
unidentined health care providers Were agents and employees of the Defendant,

Emergency Services Associates, P.A.

 

 

 

 

 

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16. At all times relevant to this case, Caroi Fisher, R.N., Robin Niorrison, R.l\l.,
V\Iendy Shelton, R.N., Gerundio Denaque, R.N., Daryl Hoithott, R.N. and other
unidentined health care providers Were agents and employees of the Defendant,
Peninsiila Regionai lVledical Center.

17. On iViarch 31, 2010, Alexander Rey Stuart presented to the emergency
room ot the Peninsula Regiona| i\fledicai Center. Alexander Rey Stuart Was seen at the
emergency room ot the Peninsula Regionai i\/ledical Center With complaints ot back
pain. Alexander Stuart Was diagnosed With a iumbar strain and sprain, and he Was
released from the emergency room ot the Peninsula Regionai l\fiedical Center.

18. The next day, April 1, 2010, Alexander Rey Stuart again presented to the
emergency room of the Peninsula Regional i\/ledical Center With complaints of back
pain. The pain Was so severe that the PRl\/IC emergency room records indicate that
Alexander Rey Stuart strapped potatoes to his back in an effort to remove his "tever."
`i`he Peninsuia Regional t\/fedical Center records further reflected that Aiexander Rey
Stuart had an elevated White biood count ot 14.7 With a left shitt, he Was tachycardic
(eievated heart rate) With his pulse documented at 108 beats per minute, and he had
abnormai protein in his urine. Mr. Stuart Was given |V l\/iorpine, Toradol and Zofran for
pain relief1 and he Was discharged With a continuing diagnosis ot lumbosacral
sprain/strainl

19. `l“he next day, April 2, 2010, Alexander Stuart returned to the emergency
room of the Peninsu|a Regional l\/tedicai Center for the third consecutive day- V\Iithin

the emergency room of the Peninsula Regionai i\/ledical Center, A|e)<ander Rey Stuart

 

 

 

 

 

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Was a patient under the care of the Defendants, Emergency Services Associates, P.A.
and F’eninsuia Regional lVledical Center.

20. On Apri| 2, 2010, it is alleged that the Detendant, Sean D. Dai<shavv, D.O.,
Was the physician agent and/or employee of the Detendant, Emergency Services
Associates, P.A., and he Was responsible for attending to the emergency care required
by Alexander Rey Stuart. it is also alleged that Kellie Phillips, P.A. Was a physician's
assistant of the Detendant, Emergency Services Associates, P.A., and she Was also
responsible for attending to the emergency care required by Alexander Rey Stuart. ln
addition, Carol I:isher1 R.N., Robin lVlorrison, R.N., Wendy Sheiton, R.N., Gerundio
Denaque, R.N., Daryl i-loithotf, R.N. Were registered nurses of the Detendant Peninsuia
Regional lVledical Center responsibie for attending to the emergency medicine care
required by Alexander Rey Stuart.

21. On Aprii 2, 2010, Aiexander Rey Stuart again compiained to the
Defendants of back pain that Was getting Worse, not better, despite the visits to the
emergency room of the Peninsula Regional l\/ledicai Center on the previous two days.
Alexander Stuart Was having difficulty Waiking. Aiexander Rey Stuart's tachycardia had
Worsened, With a pulse rate of 130 beats per minute, With no explanation

22. With a history from the day before of an elevated White count With a lett
shitt, protein in his urine, Worsening tachycardia, and Worsening pain, it is alleged that,
under the applicable standards of care, these signs, symptoms and diagnostic nndings,
required Alexander Rey Stuart to receive an extensive Worl<up in the emergency room

of the Peninsu|a Regional Medical Center that inciuded a repeat CBC, cardiac

enzymes, a chest x~ray, a check of his electrolytes, and a repeat of his urinalysis.

 

 

 

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Detendants would have found Alexander Stuart's already previously elevated white
count had increased still turther, and additional abnormalities in his urine, that combined
with his complaints of pain and known tachycardia, would have led to the diagnosis ot
sepsis.

24. lt is alleged at the time of Aiexander Rey Stuart's April 2, 2010 visit to the
emergency room of the Peninsuia Regiona| l-iospital, the standards of care would have
compelled the immediate initiation of antibiotic treatment in the emergency room in
order to avoid the consequences of sepsis. it is alleged that the Defendants, and their
agents and/or employees, including physiciansl physician's assistants, and nurses,
vioiated this standard of care.

25. lt is further alleged that at the time of Aiexander Rey Stuart's April 2, 2010
visit to the emergency room of the Peninsu|a Regional Hospital, the standards ot care
compelled Alexander Rey Stuart's immediate admission to the Peninsu|a Regional
i\/iedica| Center, where he should have received lV antibiotics and i\/ hydration, with
appropriate observation lt is alleged that the Detendants, and their agents and/or
employees, including physicians, physician's assistants, and nurses, violated this
standard of care-

26. Aiexander Rey Stuart was never seen by a medical doctor on the
Peninsuia Regional lVledical Center emergency room visit ot April 2, 2010, and his care
was undertaken by a physician's assistantl Kellie Phiilips, P.A., and various nurses,
only. in light of A|exander Stuart's clinical presentation that was worsening without any

explanation, and the fact that Alexander Stuart had sought medical attention in the

 

 

 

 

 

 

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alleged that the standard of care required that Alexander Rey Stuart be seen, examined
and personally evaluated by a physician lt is alleged that the Defendants, and their
agents and/or employees, including physicians, physician's assistants and nurses,
violated this standard of care.

27. Alexander Rey Stuart was released from the emergency room of PRl\/lC
on April 2, 2010, with a diagnosis of "Local pain affecting the low back (non traumatic)
[and] l_urnbosacral Sprain/Strain.“ The reiease Was approved by the Defendant Sean
D. Dakshaw, D.O. who "as the supervising staff physician concur[red] on the Enai
disposition."

28. lt is alleged at the time of Aiexander Rey Stuart's April 2, 2010 visit to the
emergency room of the Peninsula Regional i~|ospitai, that Defendants’, and their agents’
and/or employees’, including physicians’, physician's assistants’, and nurses' failure to
provide a hands on evaluation by a physician, failure to administer antibiotics, failure to
complete a full workup, including a laboratory workup, failure to admit Alexander Rey
Stuart to the hospital, and failure to initiate meaningful observation within the Peninsula
Regional lVledical Center violated accepted standards of care.

29. lt is alleged that as a result of the failures to comply with the standards of
care that would have resulted in the immediate administration of antibiotics, a hospitai
admission, and observation that would have successfuliy treated Alexander Stuart's
sepsis, Alexander Stuart was released from the emergency room of the Peninsuia

Regional Medical Center on April 2, 2010. lt is alieged that Defendants, and their

 

 

 

 

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violated this standard of care.

30. As a result of the failure to provide competent medical care that complied
with the accepted standards of care, Aiexander Stuart's condition was allowed to remain
untreated and worsen and develop into septic shock.

31. Alexander Rey Stuart returned to the emergency room of PRMC on the
morning of April 3, 2010, but despite efforts on this day to treat his illness, including for
the first time the administration of antibiotics, Aiexander Rey Stuart's condition by then
was too dire and he could not be saved Alexander Stuart died on Aprii 3, 2010 at the
age of 25.

32. lt is alleged that as a direct and proximate result of the Defendants' failure
to properly evaluate and treat A|exander Rey Stuart in conformity with the accepted
standards of care on April 2, 20101 Alexander Rey Stuart died on April 3, 2010.

33. lt is alleged that on Apri| 2, 2010, had the Defendants provided Alexander
Rey Stuart with medical treatment that conformed to the accepted standards of medical
care, including emergency medicine care, A|exander Rey Stuart would have been
successfully treated for sepsis, and A|exander Rey Stuart would have gone on to a fuil
and complete recovery

34. The Defendant, Emergency Service Associates, P.A., through its agents
and/or employees, Sean D. Dakshaw, D.O. and Kellie Phillips, P.A., and its borrowed
servants, Caroi Fisher, R.N., Robin Morrison, R.N., Wendy Shelton, R.N., Gerundio
Denaque. R.N., Daryl Hoithoff, R.N., and other unidentified individuais, were negligent

and careless in that they failed to appreciate the ominous signs of life threatening illness

 

 

 

 

 

 

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and observation on April 2, 2010. This negligence resulted in Alexander Rey Stuart's
death from septic shock on April 3, 2010,

35. The Defendant, Peninsula Regional lVledical Center. through it agents
and/or employees Sean D. Dakshaw, D.O., Kellie Phillips, P.A., Carol Fisher, R.l\l.,
Robin l\/lorrison, R.N., Wendy Shelton, R.l\l., Gerundio Denague1 R.N., Daryl Hoithoff,
R.l\l., and other unidentified individuals1 were negligent and careless in that they failed
to appreciate the ominous signs of life threatening illness and sepsis that required
immediate administration of antibiotics, a hospital admission, and observation on April
2, 2010. This negligence resulted in Alexander Rey Stuart's death from septic shock on
April 3, 2010.

36. The Defendants were negligent and careless and violated standards of
care in that they failed to render appropriate emergency medicine care and emergency

nursing care to Alexander Rey Stuart, and Were in other ways negligent and careless

Count l - Survival Action
fillichael G. Stuart, as Administrator and Personal Representative
of the Estate of Alexander Rey Stuart
37. The P|aintiff, l\/iichael G. Stuart, as Administrator and Personal
Representative of the Estate of Alexander Rey Stuart, incorporates Paragraphs 1
through 36 of the Complaint as if they were fully set forth at length here, and by his
attorneys Jack D. Lebowitz, Vaclim A. l\/lzhen, and Lebowitz & l\Jizhen, LLC, sues

Defendants, Peninsula Regionai lVledical Center, Emergency Service Associates, P.A.

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survival action pursuant to Section 7-401 of the Estates and “l`rust Article.

38. On Apri| 2, 2010, the Defendants, Peninsula Regional lVledical Center,
Emergency Service Associates, P.A. and Sean D. Dakshaw, D.O., owed Alexander Rey
Stuart a duty to provide medical care and treatment that was reasonable and complied
with the standards of medical care, including emergency medicine care.

39. On April 2l 2010, by failing to render medical care and treatment to
Alexander Rey Stuart that was reasonable and complied with the standards of medical
care, including emergency medicine care, the Defendants breached the duties owed to
Alexander Rey Stuart, and the Defendants thereby caused advancement of sepsis into
septic shock which resulted in Alexander Rey Stuart's injuries and subsequent death on
April 3, 2010.

40. Although severely injured by the failure to treat his sepsis, Alexander Rey
Stuart was conscious and living during the emergency room presentation that began at
approximately 3:40 p.m. on April 2, 2010, surviving until the time of his death at
approximately 6:18 p.m. on April 3, 2010 ~~ a period of severe conscious pain and
suffering in excess of 26 hours

41. As a direct and proximate result of the negligence and carelessness of the
Defendants, Peninsuia Regional lVledical Center, Emergency Service Associates, P.A.
and Sean D. Dakshaw, D.O. in failing to render medical care and treatment to
Alexander Rey Stuart that was reasonable and complied with the standards of medical
care, including emergency medicine care, Alexander Rey Stuart sustained severe

conscious pain and suffering between the time of the negligent and careless medical

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dca-remandtreatmentthatbegan atmapp-roxim-ately340 -p.-m-.- on April 2,- 2010 and the time
of his death at approximately 6:18 p.m. on April 3, 2010.

42. As a direct and proximate result of the Defendants' negligencel the Estate
of Alexander R. Stuart incurred the cost of Alexander R. Stuart’s hospital, medical,
funeral and burial expenses

WHEREFORE, lVlichae| G. Stuart, as Administrator and Personal Representative
of the Estate of Alexander Rey Stuart, Deceased, claims compensatory damages
against the Defendants, Peninsula Regional lVledical Center, Emergency Service
Associates, P.A. and Sean D. Dakshaw, D.O., in an amount to be determined by ajury,

together with all costs, and any and all other relief to which this Court finds him entitled.

Count ll - Wroanu| l_)eat_h Action
llllichael G. Stuart

43. The P|aintiff, l\flichael G. Stuart, incorporates Paragraphs 1 through 42 of
the Complaint as if they were fully set forth at length here, and by his attorneys Jack D,
Lebowitz1 Vadim A. l\/lzhen, and Lebowltz & l\/lzhen, Ll_C, sues Defendants, Peninsula
Regional lVledical Center, Emergency Service Associates, P.A. and Sean D. Dakshaw,
D.O. (referred to collectively as the "Defendants") in a Wrongful death claim pursuant to
Sections 3-901 through 3-904 of the Courts and .ludicial Proceedings Article of the
l\/laryiand Code Annotated.

44. On April 2, 2010, the Defendants, Peninsula Regional lVledical Center,

Emergency Service Associates, P.A. and Sean D. Dakshaw, D.O., owed Alexander Rey

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with the standards of medical care, including emergency medicine care

45. On April 2, 2010, by failing to render medical care and treatment to
Alexander Rey Stuart that was reasonable and complied with the standards of medical
care, including emergency medicine care the Defendants breached the duties owed to
Alexander Rey Stuart, and the Defendants thereby caused advancement of sepsis into
septic shock which resulted in Alexander Rey Stuart's injuries and subsequent death on
April 3, 2010.

46. As a direct and proximate result of the negligence and carelessness of the
Defendants, Peninsula Regional lVledical Center, Emergency Service Associates, P.A.
and Sean D. Dakshaw, D.O. in failing to render medical care and treatment to
Alexander Rey Stuart that was reasonable and complied with the standards of medical
care, including emergency medicine care, and for which Alexander Rey Stuart would
have been able to maintain an action against the Defendants had he lived, Alexander
Rey Stuart sustained fatal bodily injuries and he was pronounced dead at Peninsula
Regional lVledical Center at approximately 6:18 p.m. on April 3, 201 O.

47- As a direct and proximate result of the Defendants' negligence in causing
the death of Alexander Rey Stuart, l\/lichael G. Stuart, Surviving Father of Alexander
Rey Stuart, sustained pecuniary loss, mental anguish, emotional pain and suffering,
loss of love, loss of society, loss of companionship, loss of comfort, loss of protection,

loss of attention, loss of advicel loss of fi|ia| care, loss of counse|, and loss of guidance

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n 48. n -T-his- Complairit is ntirne|y-ti|ed within three-years after the death ot - - -
Alexander Rey Stuart pursuant to Section 3~904(g) ot the Courts and Judicia|
Proceedings Artic|e of the l\flaryland Code Annotated.

WHEREFORE, Plaintiff Michae| G. Stuart, Surviving Father ot Alexander Rey
Stuart, Deceased, claims compensatory damages against the Defendants, Peninsula
Regional lVledical Center, Emergency Service Associates, P.A. and Sean D. Dal<shaw,
D.O., in an amount to be determined by a jury, together with all costs, and any and all

other relief to which this Court finds him entitled

Count |ll - Wrongfnl Death Action
Victoria l_. Bolden

49. The P|aintitf, Victoria L. Bolden, incorporates Paragraphs 1 through 48 ot
the Complaint as if they were fully set forth at length herer and by her attorneys, Jack D.
Lebowitz, Vadim A. l\/lzhen, and Lebowitz 81 l\/lzhen, Ll_C, sues Detendants, Peninsuia
‘Regiona| lVledical Center1 Emergency Service Associates, P.A. and Sean D. Dal<shaw1
D.O. (reten"ed to collectively as the "Detendants") in a wrongful death claim pursuant to
Sections 3*901 through 3~904 of the Courts and Judicia| Proceedings Article of the
l\/lary|and Code Annotated.

50. On April 2, 2010, the Defendants, Peninsula Regional lVledical Center,
Emergency Service Associates, P.A. and Sean D. Dal<shaw, D.O., owed Alexander Rey
Stuart a duty to provide medical care and treatment that was reasonable and complied

with the standards of medical care, including emergency medicine care.

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Aiexander Rey Stuart that was reasonable and complied with the standards of medical
care, including emergency medicine care, the Defendants breached the duties owed to
Alexander Rey Stuart, and the Defendants thereby caused advancement of sepsis into
septic shock which resulted in Alexander Rey Stuart's injuries and subsequent death on
April 3, 2010.

52. As a direct and proximate result ot the negligence and carelessness ot the
Defendants, Peninsula Regionai lVledical Center, Emergency Seryice Associates, P.A.
and Sean D. Dal<shaw, D.O. in failing to render medical care and treatment to
Alexander Rey Stuart that Was reasonable and complied with the standards of medical
care, including emergency medicine care, and for which Alexander Rey Stuart would
have been able to maintain an action against the Detendants had he lived, Alexander
Rey Stuart sustained fatal bodily injuries and he was pronounced dead at Peninsu|a
Regional lVledical Center at approximately 6:18 p.m. on Apri| 3, 2010.

53. As a direct and proximate result of the Defendants' negligence in causing
the death of Alexander Rey Stuart, Victoria L. Bolden, Surviving Mother of A|exander
Rey Stuart, sustained pecuniary loss, mental anguish, emotional pain and suffering,
loss cf love, loss of society, loss of ccmpanionship, loss of comfortl loss of protection,
loss of attention, loss of advice, loss of tiliai carel loss of counsei, and loss of guidance

54. This Complaint is timely filed within three years after the death of
Ale)<ander Rey Stuart pursuant to Section 3-904(9) of the Courts and Judicial

Proceedings Article of the l\/laryland Code Annotated.

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1 1 VVHEREFORE Plaintiff-"i/ictoria--L-.- jE?»olden,nS-urili-y-ir-i§.i lift-other-nof-Alexanderl§ey
Stuart, Deceased, claims compensatory damages against the Detendants, Peninsula
Regional Medlcal Center, Emergency Service Associates, P.A. and Sean D. Dal<shaw,
D.O., in an amount to be determined by a jury, together with all costs, and any and all

other relielc to which this Court nnds her entitled

Count l\l’ -» Wrondfui Death Action
Rodnica D. Cannon, as Parent, Next Friend and
l_egal Guardian of Alexis Victoria Stuart

55. The Plaintift, Rodnlca D. Cannon, as Parent, l\lext Friend and l_egal
Guardian of Aiexis Victoria Stuart incorporates Paragraphs 1 through 54 of the
Cornplaint as if they were fully set forth at length here, and by her attorneys, Jack D.
i_ebowitz, Vadim A. Mzhen, and l_ebowltz & l\llzhen, Ll_C, sues Defendants, Peninsuia
Regional lVledical Center, Emergency Service Associates, P.A. and Sean D. Dal<shaw,
D.O. (referred to collectively as the "Defendants“) in a wrongful death claim pursuant to
Sections 3-901 through 3-904 ot the Courts and Judicial Proceedings Article ot the
Maryland Code Annotated.

56. On April 2, 2010, the Defendants, Peninsula Regional lVledical Center,
Emergency Service Associates, P.A. and Sean D. Dal<shaw, D.O., owed Alexander Rey
Stuart a duty to provide medical care and treatment that was reasonable and complied
with the standards of medical care, including emergency medicine care.

57. On Apri| 2, 2010, by failing to render medical care and treatment to

Alexander Rey Stuart that was reasonable and complied with the standards of medical

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carley-including- emergencymedlclne care, the l`.)efendants breached the duties owed to
Alexander Rey Stuart, and the Defendants thereby caused advancement of sepsis into
septic shock which resulted in Alexander Rey Stuart's injuries and subsequent death on
April 3, 2010.

58. As a direct and proximate result of the negligence and carelessness of the
Defendants, Peninsula Regional lVledical Center, Emergency Service Assoclates, P.A.
and Sean D. Dakshaw, D.O. in failing to render medical care and treatment to
Alexander Rey Stuart that was reasonable and complied with the standards of medical
care, including emergency medicine care, and for which Alexander Rey Stuart would
have been able to maintain an action against the Defendants had he lived, Alexander
Rey Stuart sustained fatal bodily injuries and he was pronounced dead at Peninsula
Regional lVledical Center at approximately 6:18 p,m. on April 3, 2010.

59. As a direct and proximate result of the Defendants' negligence in causing
the death of Alexander Rey Stuart, Alexis Victoria Stuart, Surviving l\/linor Child of
Alexander Rey Stuart, has and she will continue to suffer the loss of financial support to
include pecuniary assistance that would have been provided by Aiexander Rey Stuart to
Alexis Victoria Stuart.

60. As a direct and proximate result of the Defendants’ negligence in causing
the death of Alexander Rey Stuart, Alexis Victoria Stuart, Surviving Minor Child of
Alexander Rey Stuart, has and will continue to suffer for the rest of her life, mental
anguish, emotional pain and suffering loss of |ove, loss of society, loss of
companionship, loss of comfort, loss of protection, loss of parental care1 loss of

attention, loss ot advice, loss of counsel, loss of guidance and loss of education

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Alexander Rey Stuart pursuant to Section 3‘904(g) of the Courts and Judicial
Proceedings Article of the l\/lary|and Code Annotated.

VVHEREFORE, Plaintiff Rodnica D. Cannon, as Parent, Next Friend and Legal
Guardian of Alexis Victoria Stuart, Survlving lVlinor Child of Alexander Rey Stuart,
Deceased, claims compensatory damages against the Defendants, Peninsula Regional
lVledical Center, Emergency Service Associates, P.A. and Sean D. Dal<shaw, D.O., in
an amount to be determined by a jury, together With all costs, and any and all other

relief to which this Court finds her entitled

The Plaintiffs demand a trial by jury.

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Respectfully Submitted

 

 

Jack D. Lebowitz (Federjal Bar l\lo. 10787)

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Vadim A. lVlzhen

 

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Lebowitz & i\/lzhen, Ll_C

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410-654-3601 (fax)

email: jdiebowitz@comcast.net

lvlichael G. Stuart, lndividually, and as Administrator and Personal
Representative of the Estate of Alexander Rey Stuart,

Rodnica D. Cannon, as Parent, i\lem Frlend and Lega| Guardian of
Alexis Victoria Stuart, Surviving l\/linor Child of A|exander Rey
Stuart, and Victoria L. Bolden

 

oATEo this 178 day or February, 2012.

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Certificate of Service

l HEREBY CERTlFY that on this 17th day of February, 2012, the foregoing Amended
Complaint and a copy of the amended pleading in which stricken material has been
lined through or enclosed in brackets pursuant to l_ocal Rule 103(8)(0) were served via
first class mail, postage prepaid to:

Curtis l-l. Booth, Esq.

Cowdrey Thompson, P.C.

130 l\i. Washington Street, P.O. Box 1747
Easton, l\flary|and 21601

Attorneys for Emergency Service Associates, P.A. and Sean D. Dakshaw, D.O.
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Attorneys for Peninsula Regional lVledical Center

Jack D. Lebowitz \

 

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